Case 3:18-cv-01023-MPS Document 155-9 Filed 06/12/20 Page 1 of 5




                 EXHIBIT 11
                             Case 3:18-cv-01023-MPS Document 155-9 Filed 06/12/20 Page 2 of 5

  Message

  From:                  Casey Swercheck                        [Casey@capitalagroup.com]
  Sent:                  11/29/2016 4:29:14                      PM
  To:                    Chris Jay [cj             @novafundadvisors.com]
  cc:                    Bryan D. Kelley                        @novafundadvisors.com]
  Subject:               Re: Additional                 Information
      Attachments:       image001.png; image002.png;                            image003.png




  Family court          /    divorce process,                    I    believe


  Casey Swercheck
  Capitala Group
                                     |      Vice    President


  500 E Broward Blvd Ste 1710 Fort Lauderdale, FL 33301
                                             |                    |




  p 954 848 2860  m 215 796 8410 |




                             =

  On Nov 29, 2016, at 4:14                          PM, Chris Jay <cj@novafundadvisors.com>                          wrote:


  Ok    | will take a look now. As a general question, what was the reasoning behind having Joe’s mother own          of these                 all
      trusts/entities?  Are there any agreements    place that give Joe      in
                                                                        control over these entities despite being in his mother’s
  name?


  From:      Casey Swercheck  [mailto:Casey@capitalagroup.com]
  Sent:     Tuesday, November 29, 2016 4:00 PM
  To:   Chris    Jay    <cj{@novafundadvisors.com>;                             Bryan   D.   Kelley   <bk@novafundadvisors.com>
  Subject: RE:         Additional Information


  Chris, as discussed, can you                      review the below. I'd like to send to Matthias tonight. Thanks                in advance


  Casey     Swercheck        |
                                     Vice   President
  Capitala Group
  500 E Broward                      |
                                         Ste 1710   |
                                                         Fort Lauderdale,         FL 33301

  p    954 848 2860      |
                             m215 796              8410

      <imageOOl.png>                 <image002.png>                   <image003.png>



  From:  Matthias Kirchgaessner       [mailto:m.kirchgaessner@plexusinvestments.com]
  Sent: Tuesday, November 29, 2016 5:56 AM
  To: Casey Swercheck     <Casey@capitalagroup.com>
  Subject: RE: Additional  Information


  Hi    Casey,
  Hope you had an enjoyable Thanksgiving                                     weekend!


  Here a few more questions that      came across while reviewing the material:
                                                            |




  ?        <!--[if !supportLists]--><!--[endif]-->Based on the Form ADV more than 75% is held by ATLAS CAPITALA
    INVESTMENTS,   LLC; who is the owner                               of
                                               it? Atlas Capitala Investments, LLC is owned by Capitala Trust which is an
   irrevocable trust settled by Nell Alala for her issue. Nell Alala is the mother of CEO Joe Alala.
  ?           <!--[if !supportLists]--><!--[endif]-->What is the process of participating in equity ownership for employees
  with long tenure? The management company of Capitala is 100% owned                                            by
                                                                                 irrevocable trusts that are settled by Nell
  Alala for her issue, and there are no plans to change this going forward. This may require further discussion, and we are

  happy to address by phone. As for carried interest, 20% of the fund’s carry position was offered to our anchor investors




CONFIDENTIAL                                                                                                                                         CAP_0014392
                                       Case 3:18-cv-01023-MPS Document 155-9 Filed 06/12/20 Page 3 of 5

  (Hamilton Lane and Kemper) as a “first-close concession”. The carried interest amounts allocated to Capitala entities
  (out of 100%) are 40% owned                                 by
                                       principals of the firm and the remaining 60% is owned by various trusts or trust
  affiliates settled by Nell Alala. As an additional point, the carried interest is distributed wider and deeper within the
   organization (including the junior levels) than any prior Capitala-managed entity, and the same        true for the GP           is
      commitment
  ?                 <!--[if !supportLists]--><!--[endif]-->Hunt Broyhill has its own asset management firm and has also several
      senior positions within the Broyhill’s family office; how much time does spend with Capitala? Why do you allow his time

      split? How do you deal with potential conflict of interests? Hunt Broyhill was a co-founder       Capitala and an early  of
      investor through his family office. As with all prior Capitala funds, Hunt serves on the IC of the Funds and on the Board of
              for the public entity. Hunt spends time with Capitala as needed, and
      Directors                                                                                                    is
                                                                                         typically helpful in the upfront due
    diligence performed   on potential deals given the  Broyhill family’s extensive  operational experience as manager of the
   Broyhill Family  Furniture enterprise. The  Broyhill Family  Office primarily focuses on real estate investments and
   investments that have no relation to the directly originated lower middle market credit strategy of Fund V. Furthermore,
  it should be mentioned that with Fund V, the IC was expanded to include more members of the team and organization,

    including Chris Norton (Chief Risk Officer}, Randall Fontes (Director) and Adam Richeson (Director).
  ?                                                           were the fees schedules prior Fund V? Please provide a
                    <!--[if !supportLists]--><!--[endif]-->What
       breakdown for each fund. Each prior fund was structured as a Small Business Investment Company (“SBICs”), fund
      structures which charge management fees based on committed capital plus available leverage. This fee structure is what
      leads to a large discrepancy between gross & net IRR, although also produced positive benefits on the cash on cash
      return (see below). It is our belief that Fund V’s management fee is more in-line with the institutional investor
  marketplace (1.5% management fee, based on invested capital + leverage drawn), as this was extensively negotiated
  with both Hamilton Lane and Kemper Insurance                                     at
                                                   first close. At the request of our first close investors, we’ve
  completed   illustrative unlevered net IRR calculation for each of the prior private credit funds, which I’ve attached. We
                          an



      think this     is        much more representative of the gross                    / net   return spread you could expect for Fund V. Please let me know
  if you'd     like to           discuss further.
  ?                                                       you explain why the returns that are posted on page 1? are not
                    <!--[if !supportLists]--><!--[endif]-->Can
      consistent with those on the bottom of the page 13? CHRIS TO RESPOND
  ?                                                      net numbers on page 13 for Fund I-illand IV have a higher MOIC
                    <!--[if !supportLists]--><!--[endif]-->The
  then the gross numbers. How could that be the case? That looks strange to me. The net MOIC is higher than gross given
  the benefit of fund-level leverage through our SBIC structure, as well as the benefit of recycling. Fund V is offering
   investors the choice of a levered vs. an unlevered fund, and the leverage ratio is expected to be .3x.


  i
       guess that’s it for the moment.


      Best,
      Matthias


  From: Casey                        Swercheck               [mailto:Casey@capitalagroup.com]
  Sent: Friday,                      November 25, 2016 2:08                  PM

  To: Matthias                       Kirchgaessner
  Subject: Re:                       Additional            Information


      Thank you for the note Matthias, and                                    I look forward    to following up next week. Have a great weekend!


      Casey Swercheck
  Capitala Group
                                             |   Vice         President


  500 E Broward Blvd                                   |
                                                           Ste 1710   |
                                                                          Fort Lauderdale, FL 33301
  p     954 848 2860                    |
                                             m 215 796 8410
       SRSeEeaReR   merce      nne
                                       Wig


                                                 wig




  On Nov 24, 2016, at 3:14                                    PM, Matthias Kirchgaessner <m.kirchgaessner@plexusinvestments.com>                  wrote:




CONFIDENTIAL                                                                                                                                        CAP_0014393
                               Case 3:18-cv-01023-MPS Document 155-9 Filed 06/12/20 Page 4 of 5
  Hi Casey,
  Thank you for your answers and have an enjoyable Thanksgiving                            weekend.


  imay come back with more questions on Monday then.
  All the best,

      Matthias


  From: Casey Swercheck      [mailto:Casey@capitalagroup.com]
  Sent: Wednesday, November 23, 2016 7:57 AM
  To: Matthias Kirchgaessner
  Ce: Richard Wheelahan; Chris Jay (cj@novafundadvisors.com); Claus Hilpold
  Subject: RE: Additional Information

  Hi    Matthias,


  i'm providing you with responses to your questions below in red. We have ane outstanding item and will revert back
  shortiy. As previously stated, feel free to call my cell if you want to discuss directly. Thanks again for your patience
  during the holiday week in the US


  Best,


  Casey          Swercheck     |
                                   Vice    President
  Capitala         Group
  560    E       Broward           |
                                       Ste 1710   |
                                                      Fort Lauderdale,   FL 33301

       954 848 2860        |
                               m 215 796 8410

       <imageQO1.png>              <image002.png>           <image003.png>



  From:  Matthias Kirchgaessner [mailto:m.kirchgaessner @plexusinvestments.com]
  Sent: Monday, November 21, 2016 9:15 AM
  To: Casey Swercheck    <Casey@capitalagroup.com>
  Ce: Richard Wheelahan      <rwheelahan@capitalsouthpartners.com>
  Subject: Additional Information


  Hi    Casey,
  You     told me that you would grant me access ta your data rom. Could you                          do   it,   so   |
                                                                                                                          get more color on your firm         and

  company?


  May        |   ask you a few            question?
  ®          Can you provide me the full list of people and turnover since inception of the firm?
  Please see attached              list.
                               Similar to prior requests for Hamilton Lane and Kemper, we have focused                                     the   list   on the VP-
  level and above,since                 our experience that professionals hired below this level (analyst —
                                           inception. it   is                                                                                      sr associate)         are

  typically pre-MBA and their departure is to pursue an MBA, not necessarily for any firm-specific reason.                                          As   you'll   see,
  our turnover since inception is very low, and typically at the decision of the manager.


  e    The PPM provides a phrase about Affiliated Funds. Which are those?
  “Affiliated Funds” is a general term that refers to any fund that is under the management    Capitala’s two registered        of
  investment advisers (Capitala Investment Advisors, LLC and Capitala Private Advisors, LLC). The “Legacy Funds” is a
  defined term in the PPM, and                    it refers to    all   other active funds under management,              so   that definition would list     all

  “Affiliated Funds” in existence.


  e   Can you provide a breakdown of the ownership of the company?
  Working on this response, will revert back soon




CONFIDENTIAL                                                                                                                                                 CAP_0014394
                           Case 3:18-cv-01023-MPS Document 155-9 Filed 06/12/20 Page 5 of 5
  e    Please pravide the Form ADV Part                             |   and   2

  Richard provided response on 11/21



  Thanks,       that’s it for the moment.
  Best,
  Matthias




  From: Casey Swercheck [mailto: Casey@capitalagroup.com]
  Sent: Tuesday, November 08, 2016 7:05 AM
  To:           m.kirchgaessner@plexusinvestments.com
  Cc:Richard Wheelahan; Claus Hilpold
  Subject: Quick note / simulated net performance

  Matthias, great meeting you yesterday, we thoroughly enjoyed the discussion. You clearly know our space well
  and we thought your questions came from position of experience      the credit world. As a quick follow up to            in
  for our prior funds using the terms employed on Fund V.
  more detailed discussion. We look forward to continuing the   conversation
                                                                                                        I
  one of your questions, please see attached document. This report shows simulated net investment performance

                                                            hope this is helpful, but w are happy to follow up wa


  Best




      Disclaimer
  The    information contained             in                                                                            It is intended solely for use by
  ot
       WIS au
                 Aorize
                                           eit, iF          |
                                                         you are no                           you     are hereby natified
                                                                                                                            th
                                                                                                                                  any disclosure, copying,
                                                                                                                                                           the
                                                                                                                                                            d


  faking                                               contents of this   infor                    strictly prohibited and   may  be  unlawful.

                                                                                      and may have been automatically archived by Mimecast Lid, an:
                                                                            iding a safer and  more useful piace for your human generated data. 5
                                                                               ore Click Here.




      Disclaimer
                                                                                                                                                                      th
  The  infor                                                                            é              is confidaritia!,    It   is     intended solely for use by
  others authorized to rez                                                                   ender
                                                                                        nt, “yOu a        hereby n               that any disclosure,      copying,
  taking actiori ini relation of the                   contents   of       nformati          iS   strictly prohibited and         may pe unlawful.


            rail has been     scannad for virusas and malware, and ray have been automatically archived by Mimeecast Ltd,                                                    ar
                   a


                       Service (SaaS) far business. Providing a safer and more useful clace for your hurnan ganerated data.                                                       Specializing
                         ng and compliance. To find out more Click Here.




      Disclaimer
  The                     ceritained       in
                                                this
                                                          communication       from   the     sender
                                                                                                      is confide        tis intended solely for use by                 the

         information
                                                                                                         hereby notified that any
                                       }
                                                                                              you                                       sure, copying, dis
                                                                                      Heri   is strictly prchibited and ray be unlawful,


  This arnall has bean scanned for vir                                   Iwaré, and may have been auterratically archived by Mimecast Lid, ari irinoy
  Software as a Service (SaaS) for                                             a safer and more useful place for your human generated data, Specializing
                                                                          ywiding                                                                                                                inj
  Sacurity, archi                                                 ic out mere Click Here.




CONFIDENTIAL                                                                                                                                                                         CAP_0014395
